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                              EXHIBIT 426
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    1              UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
    2                    EASTERN DIVISION
    3    IN RE: NATIONAL             )    MDL No. 2804
         PRESCRIPTION OPIATE         )
    4    LITIGATION                  )    Case No.
                                     )    1:17-MD-2804
    5                                )
         THIS DOCUMENT RELATES TO    )    Hon. Dan A. Polster
    6    ALL CASES                   )
                                     )
    7
    8
    9
                                     __ __ __
   10
                      Friday, February 22, 2019
   11                         __ __ __
   12         HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                       CONFIDENTIALITY REVIEW
   13                         __ __ __
   14
   15
   16
   17            Videotaped Deposition of MATTHEW ROGOS,
           held at Marcus & Shapira LLP, One Oxford
   18      Centre, Suite 3500, Pittsburgh, Pennsylvania,
           commencing at 1:09 p.m., on the above date,
   19      before Michael E. Miller, Fellow of the
           Academy of Professional Reporters, Registered
   20      Diplomate Reporter, Certified Realtime
           Reporter and Notary Public.
   21
   22
                                     __ __ __
   23
   24                   GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | fax 917.591.5672
   25                        deps@golkow.com

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    1      the format, there might have been some edits
    2      that, as a group, the pharmacy key team, if
    3      we had questions amongst us, we would ask to
    4      see how we wanted to, I guess, update the
    5      policy, or if there were things in the VAWD
    6      checklist that we needed to ensure that were
    7      in the policies to get the certification, we
    8      needed to put those in.
    9      BY MR. BARTON:
   10              Q.        Okay.     So as of August of 2014,
   11      looking kind of at the effective date shown
   12      here for this policy on this document, on
   13      Exhibit 7, as of -- as of August 1st of 2014,
   14      do you recall having directed at HBC that
   15      there be any training of HBC employees on how
   16      one might identify an order from a pharmacy
   17      of controlled substances as suspicious?
   18                        MR. KOBRIN:       Object to form.
   19              A.        What employees?
   20      BY MR. BARTON:
   21              Q.        Any.    Anyone at the warehouse,
   22      I guess.      Anyone under your supervision
   23      ultimately.
   24              A.        I don't recall any specific
   25      training.      There were employees that were in

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    1      place prior to my arrival at HBC that might
    2      have gotten training.
    3              Q.        Okay.     Do you recall whether,
    4      at HBC at the time we're talking about now,
    5      in 2014, was there like a learning management
    6      system for employees to get all kinds of
    7      training that they may need for their jobs?
    8                        MR. KOBRIN:       Object to form.
    9              A.        I can't recall.
   10      BY MR. BARTON:
   11              Q.        Okay.     You understand what I'm
   12      referring to, though, in terms of like an
   13      LMS, learning management system, for employee
   14      training?      Is that something you have had
   15      familiarity with in your career?
   16              A.        It is.
   17              Q.        And one of the things that an
   18      LMS system can do if an employer sets it up
   19      this way is to have training for its
   20      employees, for example, on policies and
   21      procedures, correct?
   22              A.        I would assume, yes.
   23              Q.        Okay.     But as you sit here, you
   24      don't recall whether that existed in that --
   25      whether that functionality existed in HBC at

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    1      identify if a certain pharmacy within our
    2      Giant Eagle system was ordering over -- or I
    3      guess overordering a certain prescription.
    4                        I know that they did monitor
    5      that and would send out monthly reports on
    6      thresholds to us if any store was over the
    7      threshold.
    8              Q.        Okay.     So there was a company
    9      system, what you're referring to, that you
   10      understood was in place to be monitoring for
   11      orders that somehow were flagged by the
   12      system as potentially suspicious?
   13              A.        Correct.
   14              Q.        Based on quantity or frequency
   15      or size or anything that the system might be
   16      flagging?
   17              A.        I don't know what the specifics
   18      were on the flags, but yes.
   19              Q.        Right.     You didn't set up that
   20      system to kind of put in whatever parameters
   21      it had, correct?
   22              A.        No.
   23              Q.        So that -- and my question was
   24      really just about what's -- what was in this
   25      written policy as of this point in time

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    1      that -- none of that that you've just
    2      described, the companywide system or any
    3      other criteria that employees might use for
    4      identifying an order of suspicious -- an
    5      order as suspicious, that's not -- that's not
    6      explained in this document, correct?
    7              A.        No.
    8              Q.        Okay.     What this document does
    9      do is it addresses how HBC intended to
   10      respond if it identified or suspected an
   11      order as suspicious?
   12                        MR. KOBRIN:       Object to form.
   13              A.        That's correct.
   14                        MR. BARTON:       Okay.
   15                        (HBC-Rogos Deposition Exhibit 8
   16              marked.)
   17      BY MR. BARTON:
   18              Q.        I'm handing you Exhibit 8.
   19      Exhibit 8 is a multiple-page document
   20      starting with page Bates number
   21      HBC_MDL00132908; is that correct?
   22              A.        Yes.
   23              Q.        And the last page of this
   24      exhibit, Bates HBC_MDL00132924; is that
   25      right?

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    1              A.        My understanding, yes, uh-huh.
    2              Q.        There -- was there ever, during
    3      the time that you were director of warehouse
    4      operations, was there ever any specific
    5      training that you directed or conducted of
    6      your employees on suspicious order
    7      monitoring?
    8              A.        Not that I did.
    9              Q.        Okay.     Did it ever occur?          I
   10      mean, apart from whether you actually did the
   11      training, did you -- do you know whether your
   12      employees ever got training on the specifics
   13      of suspicious order monitoring while you were
   14      director of warehouse operations?
   15              A.        No.
   16              Q.        Okay.     And I think you've
   17      testified there wasn't, to your recollection,
   18      or at least you're not able to say there was,
   19      an LMS training system where it would be
   20      documented somewhere that every employee was
   21      trained on these policies, correct?
   22              A.        I'm not aware of that.
   23              Q.        Okay.     After -- after this
   24      policy was revised to include the suspicious
   25      order criteria that counsel was just pointing

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